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Exhibit 1B                       LOAN AND INVESTMENT SUMMARY                                                Updated for October 1, 2017


NOTE: ALL LOANS ARE IN DEFAULT T. Baron has now filed four Chapter 11 Bankruptcies in Oregon.
The list of properties included in the RenX Group II, LLC has not been received but will be added to this document once received.
Properties included in first three BK's are 3004 SW 62nd Ave., 5631 SE Belmont St., 7582 N. Burlington, 8025 Scholls Ferry Rd., 12761 SW 133rd Ave.
18901 Hilltop, 3415 Crescent,2775 SW 107th, 13360 NE Denbrook, 7320 SW Frog Pond, 18797 Blueridge, 6727 Oakridge and 52055 SE Icenogle
All properties are in the Portland Oregon area.
This report is documenting total debt and is not an attempt to collect on the debt owed in relation to the properties in bankruptcy.

                                            Number        Number of      Principle         Rents            Interest           Total Due
                                            of loans      Properties     Due               Due              Due
DJ PROPERTY SOLUTIONS, LLC                             28           28    $70,262.46       $158,540.04        $75,325.82        $304,128.32

JOINT VENTURE * FEB JV 2014                             1           7      $12,975.00       $82,270.00        $16,154.25         $111,399.25

JOINT VENTURE * 18901 VENTURE                           1           1     $248,470.80             $0.00      $150,194.85         $398,665.65

DAVID AND JANINE IRA LOANS                             13          13       $8,238.50       $95,695.00        $31,112.47         $135,045.97

ASSIGNED CONTRACTS * RCLM to DJPS                       4           4            $0.00      $20,025.00         $5,306.18          $25,331.18

TOTAL DUE DJPS and DAVID and JANINE IRA's                                 $339,946.76      $356,530.04       $278,093.57        $974,570.37

                                            Number        Number of      Principle         Rents            Interest           Total Due
                                            of loans      Properties     Due               Due              Due
DEEM REALTY FUNDING                                    24           24    $55,612.46       $114,665.00        $53,295.54         $223,573.00

JOINT VENTURE 18901 HILLTOP                             1           1     $248,470.80             $0.00      $150,194.85         $398,665.65

DEEM IRA LOANS                                          7           7       $6,216.00       $36,905.00        $13,890.56          $57,011.56

TOTAL DUE DEEM REALTY AND DEEM IRA's                                      $310,299.26      $151,570.00       $217,380.95         $679,250.21

TOTAL DUE DJPS, LAW IRA's, DEEM REALTY and DEEM IRA's                     $650,246.02      $508,100.04       $495,474.52       $1,653,820.58

                                            NOTE: 30% PROFIT SHARE NOT INCLUDED
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                                                   LOAN AND INVESTMENT SUMMARY
                                                   30% PROFIT SHARE NOT INCLUDED

                                                         Number        Number of     Principle       Rents          Interest       Total Due
                                                         of loans      Properties    Due             Due            Due
                     DJ PROPERTY SOLUTIONS, LLC                     28          28     $70,262.46      $42,820.00     $11,817.29    $124,899.75

                     JOINT VENTURE * FEB JV 2014                     1          7      $12,975.00      $25,330.00       $379.95       $38,684.95

                     JOINT VENTURE * 18901 VENTURE                   1          1     $248,470.80           $0.00    $64,472.43      $312,943.23

                     DAVID AND JANINE IRA LOANS                     13         13       $8,238.50      $33,245.00     $2,573.62       $44,057.12

                     ASSIGNED CONTRACTS * RCLM to DJPS               4          4           $0.00       $6,570.00        $98.55        $6,668.55

                     TOTAL DUE DJPS and DAVID and JANINE IRA's                       $339,946.76     $107,965.00    $79,341.84     $527,253.60




                                                         Number        Number of     Principle       Rents          Interest       Total Due




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                                                         of loans      Properties    Due             Due            Due
                     DEEM REALTY FUNDING                            24          24      $55,612.46     $30,830.00      $8,706.44      $95,148.90

                     JOINT VENTURE * 18901 VENTURE                   1          1     $248,470.80           $0.00    $64,472.43      $312,943.23

                     DEEM IRA LOANS                                  7          7       $6,216.00      $12,640.00     $1,961.16       $20,817.16

                     TOTAL DUE DEEM REALTY and DEEM IRA's                            $310,299.26      $43,470.00    $75,140.03      $428,909.29
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